                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


               ELECTRONIC FILING ORDER IN MAGISTRATE CASES


       This case is designated as an electronically filed case. This means that all

pleadings will be required to be filed electronically. Documents filed electronically

must be filed in OCR text searchable PDF format. The procedures contained in the

District’s CM/ECF Policies and Procedures Manual will apply and counsel will be

required to register with the Clerk’s Office and provide an email address. The

Manual can be found on the court’s website atwww.ctd.uscourts.gov. All activity in

the case (e.g., pleadings, orders, notices and calendars) will be filed/sent

electronically from this date forward.


       Counsel must comply with all applicable Federal Rules of Criminal Procedure,

the District's Local Rules, the requirements set forth in the District's CM/ECF Policies

and Procedures Manual, and any other rules and administrative procedures which

implement the District's CM/ECF system.

       If electronic filing would impose an undue burden on counsel or the parties, a

motion may be made to vacate the Electronic Filing Order, for good cause shown.




       SO ORDERED.

                                                 /s/ Maria E. Garcia
                                                United States Magistrate Judge
Rev 6-28-22
